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 1

 2                                                          The Honorable Thomas S. Zilly

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 8
     CARRIE A. ANDERSON, in her personal              ) Case No.: 2:20-CV-01125-TSZ
 9   capacity and as Personal Representative of the   )
     Estate of KIRK DANIEL POWLESS,                   ) DECLARATION OF GEORGE ROCHE
10                                                    )
     deceased; M.Q., a minor, by and through his
     mother and general guardian, GINA                )
11                                                    )
     CAMPBELL, G.Q, a minor, by and through
                                                      )
12   his mother and general guardian DEVIN
                                                      )
     KASSELL; Y.Q., a minor, by and through her       )
13   mother and general guardian DEVIN                )
     KASSELL,                                         )
14                                                    )
                    Plaintiffs,                       )
15                                                    )
            vs.                                       )
16                                                    )
     WHATCOM COUNTY, et al.                           )
17                                                    )
                   Defendants.
18

19
            I, GEORGE ROCHE, am over the age of eighteen and competent to testify to the
20
     following:
21
        1. I am the Civil Deputy Prosecuting Attorney.
22
        2. Attached hereto as Exhibit 1 is a true and correct copy of Exhibit C from the Deposition
23
            of Carrie Anderson taken on August 17, 2021, which consists of St. Joseph’s Hospital’s
24
            Progress Note regarding Decedent, Kirk Powless on 11/23/2013.
25
       DECLARATION OF GEORGE ROCHE IN SUPPORT                         Whatcom County Prosecuting Attorney
       OF DEFENDANTS’ RESPONSE IN OPPOSITION TO                                  311 Grand Ave., Suite 201
       PLAINTIFFS’ MOTION FOR JUDGMENT ON THE                                      Bellingham, WA 98225
       PLEADINGS JUDGMENT 2:20-CV-01125-TSZ                                360.778.5710 Fax: 360.778.5711
       -1
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 1      3. Attached hereto as Exhibit 2 is a true and correct copy of Exhibit A from the Deposition of
 2          Carrie Anderson taken on August 17, 2021, which consists of the Spillman log for
 3
            Decedent, Kirk Powless dated 09/10/2018. Page 5 of this exhibit has a log of visitation.
 4
        4. Attached hereto as Exhibit 3 is a true and correct copy of the transcript of the Deposition
 5
            of Carrie Anderson taken on August 17, 2021.
 6
        5. Attached hereto as Exhibit 4 is a true and correct copy of the relevant behavioral health
 7
            services contract as signed by the County Executive [Whatcom County Contract No.
 8
            201611034].
 9

10

11

12          I declare, under penalty of perjury under the laws of the United States, that the foregoing

13   is a true and correct statement.

14                          Signed at Bellingham, Washington this 1st day of November, 2021.

15

16

17                                                _______________________________
                                                  GEORGE ROCHE
18

19

20

21

22

23

24

25
       DECLARATION OF GEORGE ROCHE IN SUPPORT                           Whatcom County Prosecuting Attorney
       OF DEFENDANTS’ RESPONSE IN OPPOSITION TO                                    311 Grand Ave., Suite 201
       PLAINTIFFS’ MOTION FOR JUDGMENT ON THE                                        Bellingham, WA 98225
       PLEADINGS JUDGMENT 2:20-CV-01125-TSZ                                  360.778.5710 Fax: 360.778.5711
       -2
             Case 2:20-cv-01125-TSZ Document 120 Filed 12/10/21 Page 3 of 141



 1

 2

 3

 4

 5

 6                                    CERTIFICATE OF SERVICE
 7
                                         1st day of November, 2021, I caused to be delivered, via the
           I hereby certify that on the ___
 8   US District Court Electronic filing portal, the foregoing document, to all attorneys of record.
 9
                     I certify under penalty of perjury under the laws of the United States that the
10   foregoing is a true and correct statement.

11

12                                                         _______________________________
                                                           ANNA E. WEBB
13

14

15

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24

25
       DECLARATION OF GEORGE ROCHE IN SUPPORT                             Whatcom County Prosecuting Attorney
       OF DEFENDANTS’ RESPONSE IN OPPOSITION TO                                      311 Grand Ave., Suite 201
       PLAINTIFFS’ MOTION FOR JUDGMENT ON THE                                          Bellingham, WA 98225
       PLEADINGS JUDGMENT 2:20-CV-01125-TSZ                                    360.778.5710 Fax: 360.778.5711
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                                                        WHATCOM COUNTY CONTRACT                                         Whatcom County Contract No.
                                                              INFORMATION SHEET                                                 O



Originating Department:                                                         Sheriff/Corrections
Pro    am/ Prolect: (i.e. Dept. Division and Project)                       Psychiatric Services in the Jail
Contract or Grant Administrator:                                            Laurie Reid

Contractor' s / Agency Name:                                                    Compass Health

 Is this a New Contract?             If not, is this an Amendment or Renewal to an Existing Contract?                                   Yes             No

 Yes P-            No                If Amendment or Renewal, ( per WCC 3. 08. 100 ( a))              Original Contract #:

 Does contract require Council Approval?                Yes [+    No                        If No, include WCC:
                                                                                             see Whatcom County Codes 3. 06.010, 3. 08.090 and 3. 08. 100)

 Is this a grant agreement?
 Yes               No [ 9                  If yes, grantor agency contract number(s):                                  CFDA #:

 Is this contract grant funded?
 Yes               No M                    If yes, Whatcom County grant contract number(s):
 Is this contract the result of a RFP or Bid process?                                                       Contract
 Yes 92,"-         No             If yes, RFP and Bid number(s):       16 -33                               Cost Center:        118161. 6635. 006


 Is this agreement excluded from E-Verify?               No        Yes E-        If no, include Attachment D Contractor Declaration form.


If YES, indicate exclusion( s) below:
       Professional services agreement for certified /licensed professional.
       Contract work is for less than $ 100,000.                                     Contract for Commercial off the shelf items ( COTS).
       Contract work is for less than 120 days.                                      Work related subcontract less than $ 25, 000.
       Interlocal Agreement (between Governments).                                   Public Works - Local Agency /Federally Funded FHWA,
Contract Amount:(sum of original contract amount and any                    Contracts that require Council Approval ( incl. agenda bill &               memo)

prior amendments):                                                               0     Professional Services Agreement above $ 20,000.

       90, 000.00                                                                     Bid is more than $ 50,000.
                                                                                      Professional Service Contract Amendments that have an
This Amendment Amount:
                                                                                      increase greater than $20, 000 and other contracts with a
                                                                                      cumulative increase greater than $ 50, 000.
Total Amended Amount:
                                                                            RENEWALS: Council approval is not required when exercising an
                                                                            option to renew that is provided in the original contract.

Summary of Scope: A psychiatrist and a psychiatric advanced nurse practitioner will work together as a team to perform
psychiatric services at the Whatcom County Jail conducting evaluations and assessments on offenders referred for mental health
services.




Term of Contract:               1 year                                      Expiration Date:              12/ 31/ 17


Contract Routing:          1. Prepared by: LR                                                                           Date:       11/ 03/ 16
                           2. Attorney signoff:                                                                         Date:        111,. /   I



                            3. AS Finance reviewed:                                                                     Date:
                           4. IT reviewed (if IT related):                                                              Date:

                            5. Contractor signed:                                                                       Date:                      Zz

                           6. Submitted to Exec.:                                                                       Date:

                           7. Council approved (if necessary):                                                          Date:

                            8. Executive signed:                                                                        Date:
                           9. Original to Council:                                                                      Date:

Last edited 10/ 01/ 15
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                                                                                                 Whatcom County Contract No.

                                                                                                       a016 it ©34



                                      CONTRACT FOR SERVICES AGREEMENT
                       For Psychiatric Services at the Whatcom County Jail and Work Center
                                  Between Whatcom County and Compass Health


Compass Health, hereinafter called Provider or ( Contractor) and Whatcom County, hereinafter referred to as
County, agree and contract as set forth in this Agreement, including:
                     General Conditions, pp.     3    to     8,

                     Exhibit A (Scope of Work), pp.        9 to 10
                     Exhibit B ( Compensation), pp.        H
                     Exhibit C ( Certificate of Insurance)
Copies of these items are attached hereto and incorporated herein by this reference as if fully set forth herein.

The term of this Agreement shall commence on the I" day of January, 2017, and shall, unless terminated or renewed
as elsewhere provided in the Agreement, terminate on the 31 st day of December, 2017. The term of this Agreement
may be renewed up to four (4) one year terms for a total of five (5) years by mutual agreement of the parties, with
the last renewal ending December 31, 2021. Notice of the intention to extend the Agreement shall be presented in
writing by either party on or before December l st of any year.

The general purpose or objective of this Agreement is to provide psychiatric services for the Whatcom County Jail
and Work Center, as more fully and definitively described in Exhibit A hereto. The language of Exhibit A controls
in case of any conflict between it and that provided here.

The maximum consideration for the initial term of this agreement or for any renewal term shall not exceed
 90, 000. The Contract Number, set forth above, shall be included on all billings or correspondence in connection
therewith.



Provider acknowledges and by signing this contract agrees that the Indemnification provisions set forth in this
Agreement, are totally and fully part of this contract and have been mutually negotiated by the parties.

IN WITNESS WHEREOF, the parties have executed this Agreement this                              day of . fit ea,r,, be i-        2016 .


PROVIDER:


COMPASS HEALTH
                                                                                     TURD
Tom Sebastian, President /CEO
                                                                                 NOTARY


                                                                            P
                                                                                 PUBLIC
STATE OF WASHINGTON ) (
                                                                                02- 01 -2020
                                           ss.                              9
COUNTY OF Oil              t 11     11)                                         OP

On this 22- day of                20 0 ,   before me personally appeared Tom Sebastian to me known to be the
President /CEO of Compass Health and who executed the above instrument and who acknowledged to me the act of
signing and sealing thereof.
                                                                                 A                   I LIi

                                                             NOTARY PUBL               iihnd for the State of Washin ton,
                                                             residin = at
                                                                                jfq'
                                                                      f .               My commission expires              1)




2017 Compass Health/ Psychiatric Services
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WHATCOM COUNTY:


Recommended for Approval:




Slt riff                              Date




Approved as to form:




           Aw',
              Attorne
                        4'           Il i0 /
Prosecute +                             ate



Approved:


Accepted for Wjl kpin County:


By:                z     I _-- —,
Jack Louws, W atcom CountV Executive

STATE OF WMHINGTW4 -] )
                                       ss

COUNTY OF WHATCOM )




On this   1'   day of ,         201(o, before me personally appeared Jack Louws, to me known to be the
Executive of Whatcom County, who executed the above instrument and who acknowledged to me the act of signing
and sealing thereof.
                                       1111t11 1dff11 1j                    j,, .
                                h'                                                           i.0 ,

                                                           Iy f, NOTARY UBLIC in and -fort e~State ofWashington,
                                            N E-l",p•,            1 "residing at             My commission expires
                                       01A1,?
                                                        y,
                                                         r:            12-- 31 —/9


                                      pUs0 %


                                       OF                  t` .

                                      rrr V I I I I N
CONTRACTOR INFORMATION:


COMPASS HEALTH


Address:
PO Box 3810, MS 35
Everett, WA 98213


Contact Name: Jill Turner
Contact Phone: 425- 349 -8397

Contact Email: jill.turner@compassh. org




2017 Compass Health/ Psychiatric Services
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                                              GENERAL CONDITIONS




         Scope of Services: The Provider agrees to provide to the County services and any materials as set forth in
         the project narrative identified as Exhibit " A ", during the agreement period. No material, labor, or facilities
         will be furnished by the County, unless otherwise provided for in the Agreement.

    2.   Professional Ucensure:     As a condition of this Agreement, the Provider     shall   maintain    all   applicable
         licenses and certification requirements of the profession to render services in this Agreement and shall at
         all times during the term of this Agreement, meet all requirements of the State of Washington or other
         regulatory entity for such licensing, certification or credentialing.

    3.   The Provider agrees to fully comply with all Federal, State, and local laws, rules and regulations relating to
         the subject matter of this Agreement.


    4.   Term: Services provided by Provider prior to or after the term of this contract shall be performed at the
         expense of Provider and are not compensable under this contract unless both parties hereto agree to such
         provision in writing. The term of this Agreement will be from January 1, 2017 to December 31, 2017 and
         may be renewed up to four ( 4) one -year terms for a total of five ( 5) years by mutual agreement of the
         parties and said Agreement is in writing and signed by both parties.

    5.   Termination for Default:     If the Provider defaults by failing to perform any of the obligations of the
         contract or becomes insolvent or is declared bankrupt or commits any act of bankruptcy or insolvency or
         makes an assignment for the benefit of creditors, the County may, by depositing written notice to the
         Provider in the U. S. mail, first class postage prepaid, terminate the contract, and at the County' s option,
         obtain performance of the work elsewhere.       Termination shall be effective upon Provider' s receipt of the
         written notice, or within three ( 3) days of the mailing of the notice, whichever occurs first. If the contract is
         terminated for default, the Provider shall not be entitled to receive any further payments under the contract
         until all work called for has been fully performed. Any extra cost or damage to the County resulting from
         such default( s) shall be deducted from any money due or coming due to the Provider. The Provider shall
         bear any extra expenses incurred by the County in completing the work, including all increased costs for
         completing the work, and all damage sustained, or which may be sustained by the County by reason of such
         default.


         Termination for Public Convenience: The County may terminate the Agreement in whole or in part
         whenever the County determines, in its sole discretion that such termination is in the interests of the
         County. Whenever the Agreement is terminated in accordance with this paragraph, the Provider shall be
         entitled to payment for actual work performed at unit contract prices for completed items of work.            An

         equitable adjustment in the contract price for partially completed items of work will be made, but such
         adjustment shall not include provision for loss of anticipated profit on deleted or uncompleted work.
         Termination of this Agreement by the County at any time during the term, whether for default or
         convenience, shall not constitute breach of contract by the County.

    7.   Mutual Termination: The parties can mutually agree to terminate the contract by a mutual termination
         agreement signed by both parties.

    8.   Accounting anment for Provider Services: Payment to the Provider for services rendered under this
         Agreement shall be as set forth in Exhibit " B." Where Exhibit " B" requires payments by the County,
         payment shall be based upon written claims supported, unless otherwise provided in Exhibit " B," by
         documentation of units of work actually performed and amounts earned, including, where appropriate, the
         actual number of days worked each month, total number of hours for the month, and the total dollar
         payment requested, so as to comply with municipal auditing requirements.

         Unless specifically stated in Exhibit " B" or approved in writing in advance by the official executing this
         Agreement for the County or his designee ( hereinafter referred to as the " Administrative Officer ") the



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         County will not reimburse the Provider         for any costs or expenses incurred by the Provider           in the
         performance of this contract. Where required, the County shall, upon receipt of appropriate documentation,
         compensate the Provider, no more often than monthly, in accordance with the County' s customary
         procedures, pursuant to the fee schedule set forth in Exhibit " B."


    9.   Withholding Payment: In the event the County' s Administrative Officer determines that the Provider has
         failed to perform any obligation under this Agreement within the times set forth in this Agreement, then the
         County may withhold from amounts otherwise due and payable to Provider the amount determined by the
         County as necessary to cure the default, until the Administrative Officer determines that such failure to
         perform has been cured. Withholding under this clause shall not be deemed a breach entitling Provider to
         termination or damages, provided that the County promptly gives notice in writing to the Provider of the
         nature of the default or failure to perform, and in no case more than 10 days after it determines to withhold
         amounts otherwise due. A determination of the Administrative Officer set forth in a notice to the Provider
         of the action required and/ or the amount required to cure any alleged failure to perform shall be deemed
         conclusive, except to the extent that the Provider acts within the times and in strict accord with the
         provisions of the Disputes clause of this Agreement.            The County may act in accordance with any
         determination of the Administrative Officer which has become conclusive under this clause, without
         prejudice to any other remedy under the Agreement, to take all or any of the following actions: ( 1) cure any
         failure or default, ( 2) to pay any amount so required to be paid and to charge the same to the account of the
         Provider, ( 3) to set off any amount so paid or incurred from amounts due or to become due the Provider.
         In the event the Provider obtains relief upon a claim under the Disputes clause, no penalty or damages shall
         accrue to Provider by reason of good faith withholding by the County under this clause.

    10. Independent Provider:    The Provider' s services shall , be furnished by the Provider as an independent
         Provider, and nothing herein contained shall be construed to create a relationship of employer -employee or
         master -servant, but all payments made hereunder and all services performed shall be made and performed
         pursuant to this Agreement by the Provider as an independent Provider.

         The Provider acknowledges that the entire compensation for this Agreement is specified in Exhibit " B" and
         the Provider is not entitled to any benefits including, but not limited to: vacation pay, holiday pay, sick
         leave pay, medical, dental, or other insurance benefits, or any other rights or privileges afforded to
         employees of the County. The Provider represents that he /she /it maintains a separate place of business,
         serves clients other than the County, will report all income and expense accrued under this contract to the
         Internal Revenue Service on a Schedule C, and has a tax account with the State of Washington Department
         of Revenue for payment of all sales and use and Business and Occupation taxes collected by the State of
         Washington.


         Provider will defend, indemnify and hold harmless the County, its officers, agents or employees from any
         loss or expense, including, but not limited to, settlements, judgments, setoffs, attorneys' fees or costs
         incurred by reason of claims or demands because of breach of the provisions of this paragraph.

    11. No Guarantee of Employment: The performance of all or part of this contract by the Provider shall not
        operate to vest any employment rights whatsoever and shall not be deemed to guarantee any employment
         of the Provider or any employee of the Provider or any sub Provider by the County at the present time or in
         the future.


    12. Confidentiality:    The    Provider its employees, sub Providers, and their employees shall maintain the
         confidentiality of all information provided by the County or acquired by the Provider in performance of
         this Agreement, except upon the prior written consent of the County or an order entered by a court after
          having acquired jurisdiction over the County.       Provider shall immediately give to the County notice of any
         judicial proceeding seeking disclosure of such      information. Provider shall indemnify and hold harmless the
          County, its officials, agents or employees         from all loss or expense, including, but not limited to
          settlements, judgments, setoffs, attorneys' fees   and costs resulting from Provider' s breach of this provision.

    13. lZight to review; This contract is subject to review by any Federal, State or County auditor. The County
         or its designee shall have the right to review and monitor the financial and service components of this




2017 Compass Health /Psychiatric Services
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          program by whatever means are deemed expedient by the Administrative Officer or by the County
          Auditor' s Office. Such review may occur with or without notice and may include, but is not limited to, on-
          site inspection by County agents or employees, inspection of all records or other materials which the
          County deems pertinent to the Agreement and its performance, and any and all communications with or
          evaluations by service recipients under this Agreement. The Provider shall preserve and maintain all
          financial records and records relating to the performance of work under this Agreement for three ( 3) years
          after contract termination, and shall make them available for such review, within Whatcom County, State
          of Washington, upon request. Provider also agrees to notify the Administrative Officer in advance of any
          inspections, audits, or program review by any individual, agency, or governmental unit whose purpose is to
          review the services provided within the terms of this Agreement.         If no advance notice is given to the
          Provider, then the Provider agrees to notify the Administrative Officer as soon as it is practical.

     14. Proof of Insurance: The Contractor shall carry for the duration of this Agreement general liability and
         property damage insurance with the following minimums: Workers Compensation insurance as required by
         law, Property Damage $ 500, 000.00 per occurrence, Comprehensive General Liability & Property Insurance
         for bodily injury $ 1, 000, 000.00, to include, but not be limited to the following: premises /operation,
         independent contractors, personal injury, contractual liability with a combined single limit for bodily injury
         and property damage of $1, 000, 000. 00. The certificate of such insurance must provide the following: The
          Certificate must identify and name Whatcom County, its elected officers and employees, as additional
          insured. This insurance shall be considered primary and shall waive all rights of subrogation. The County
          insurance shall be non -contributory. The Certificate will be attached as Exhibit " C ". Proof of insurance
          shall be provided to the County annually.

    15.   Defense &    Indemnity Agreement: To the extent of its comparative liability, each party agrees to
          indemnify, defend and hold the other party, its elected and appointed officials, employees, agents and
          volunteers, harmless from and against any and all claims, damages, losses and expenses, including but not
          limited to court costs, attorney' s fees and alternative dispute resolution costs, for any personal injury, for
          any bodily injury, sickness, disease or death and for any damage to or destruction of any property
           including the loss of use resulting therefrom) which are alleged or proven to be caused by an act or
          omission, negligent or otherwise, of its elected and appointed officials, employees, agents or volunteers.


          A party shall not be required to indemnify, defend, or hold the other party harmless if the claim, damage,
          loss or expense for personal injury, for any bodily injury, sickness, disease or death or for any damage to or
          destruction of any property ( including the loss of use resulting therefrom) is caused by the sole act or
          omission of the other party.

          In the event of any concurrent act or omission of the parties, negligent or otherwise, each party shall pay its
          proportionate share of any damages awarded based upon comparative liability. The parties agree to
          maintain a consolidated defense to claims made against them and to reserve all indemnity claims against
          each other until after liability to the claimant and damages, if any, are adjudicated. If any claim is resolved
          by voluntary settlement and the parties cannot agree upon apportionment of damages and defense costs,
          they shall submit apportionment to the binding arbitration.

          It is further provided that no liability shall attach to the County by reason of entering into this contract,
          except as expressly provided herein. The parties specially agree that this agreement is for the benefit of the
          parties only and this agreement shall create no rights in any third party.

          Each party shall promptly notify the other of any claim for which indemnity is sought, and shall cooperate
          fully with the other party in the investigation, defense and settlement of such claim. The indemnifying party
          shall have the sole discretion to defend and settle such claim.


          The County will notify the Contractor if the County becomes aware of a possible claim from any incident
          involving offender health care or services provided by the Contractor under this contract. The notification
          must be in writing and in no more than 60 days from the date such claims are filed. Notification must
          include the names and addresses of the possible claimant and witnesses and a description of the actual or
          alleged incident, and copies of any demands, notices, summonses, or legal papers received under the claim



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        or suit. The County shall authorize the Contractor to obtain records and other information as needed to
        investigate any claim or suit where Contractor services may be involved, provided Federal and State
        medical confidentiality laws are followed as they pertain to offender health records.

    16. Non -Discrimination in Client Services: The Provider shall not discriminate on the grounds of race, color,
        creed, religion, national origin, sex, age, marital status, disability, sexual orientation, or veteran status or
        any other basis in law; or deny an individual or business any service or benefits under this Agreement; or
        subject an individual or business to segregation or separate treatment in any manner related to his /her /its
        receipt any service or services or other benefits provided under this Agreement; or deny an individual or
        business an opportunity to participate in any program or receive services provided by this Agreement..

    17. Conflict of Interest: If at any time prior to commencement of, or during the term of this Agreement,
        Provider or any of its employees involved in the performance of this Agreement shall have or develop an
        interest in the subject matter of this Agreement that is potentially in conflict with the County' s interest, then
        Provider shall immediately notify the County of the same. The notification of the County shall be made
        with sufficient specificity to enable the County to make an informed judgment as to whether or not the
        County' s interest may be compromised in any manner by the existence of the conflict, actual or potential.
        Thereafter, the County may require the Provider to take reasonable steps to remove the conflict of interest.
        The County may also terminate this contract according to the provisions herein for termination.

    18. Administration of Contract: This Agreement shall be subject to all laws, rules, and regulations of the
        United States of America, the State of Washington, and political subdivisions of the State of Washington.
        The Provider also agrees to comply with applicable federal, state, county or municipal standards for
        licensing, certification and operation of facilities and programs, and accreditation and licensing of
        individuals.


        The County hereby appoints, and the Provider hereby accepts, the Whatcom County Executive, and his or
        her designee, as the County' s representative, hereinafter referred to as the Administrative Officer, for the
        purposes of administering the provisions of this Agreement, including the County' s right to receive and act
        on all reports and documents, and any auditing performed by the County related to this Agreement. The
        Administrative Officer for purposes of this agreement is:


        COUNTY                                                   PROVIDER

        Wendy Jones, Chief Corrections Deputy                    Compass Health

        Whatcom County Sheriff s Office /Corrections             Tom Sebastian, President /CEO
        311 Grand Avenue                                         P. O. Box 3810, MS 30
        Bellingham, WA 98225                                     Everett, WA 98213
        Phone: ( 360) 778 -6505                                  Phone: ( 425) 349 -8418


    19. Modifications: Either party may request changes in the Agreement. Any and all agreed modifications, to
        be valid and binding upon either party, shall be in writing and signed by both of the parties.

    20. Severability: If any term or condition of this contract or the application thereof to any person( s) or
        circumstances is held invalid, such invalidity shall not affect other terms, conditions or applications which
        can be given effect without the invalid term, condition or application. To this end, the terms and conditions
        of this contract are declared severable.


    21. Waiver: Waiver of any breach or condition of this contract shall not be deemed a waiver of any prior or
        subsequent breach. No term or condition of this contract shall be held to be waived, modified or deleted
        except by an instrument, in writing, signed by the parties hereto. The failure of the County to insist upon
        strict performance of any of the covenants and agreements of this Agreement, or to exercise any option
        herein conferred in any one or more instances, shall not be construed to be a waiver or relinquishment of
        any such, or any other covenants or agreements, but the same shall be and remain in full force and effect.




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    22. Disputes:
          a.   General:
          Differences between the Provider and the County, arising under and by virtue of the Contract Documents,
          shall be brought to the attention of the County at the earliest possible time in order that such matters may be
          settled or other appropriate action promptly taken. Except for such objections as are made of record in the
          manner hereinafter specified and within the time limits stated, the records, orders, rulings, instructions, and
          decisions of the Administrative Officer shall be final and conclusive.
          b.   Notice of Potential Claims:
          The Provider shall not be entitled to additional compensation which otherwise may be payable, or to
          extension of time for ( 1) any act or failure to act by the Administrative Officer or the County, or ( 2) the
          happening of any event or occurrence, unless the Provider has given the County a written Notice of
          Potential Claim within ten ( 10) days of the commencement of the act, failure, or event giving rise to the
          claim, and before final payment by the County. The written Notice of Potential Claim shall set forth the
          reasons for which the Provider believes additional compensation or extension of time is due, the nature of
          the cost involved, and insofar as possible, the amount of the potential claim. Provider shall keep full and
          complete daily records of the work performed, labor and material used, and all costs and additional time
          claimed to be additional.
          c.   Detailed Claim:
          The Provider shall not be entitled to claim any such additional compensation, or extension of time, unless
          within thirty ( 30) days of the accomplishment of the portion of the work from which the claim arose, and
          before final payment by the County, the Provider has given the County a detailed written statement of each
          element of cost or other compensation requested and of all elements of additional time required, and copies

          of any supporting documents evidencing the amount or the extension of time claimed to be due.
          d.   Arbitration:

          Other than claims for injunctive relief brought by a party hereto ( which may be brought either in court or
          pursuant to this arbitration provision), and consistent with the provisions hereinabove, any claim, dispute or
          controversy between the parties under, arising out of, or related to this Agreement or otherwise, including
           issues of specific performance, shall be determined by arbitration in Bellingham, Washington, under the
          applicable American Arbitration Association ( AAA) rules in effect on the date hereof, as modified by this
          Agreement. There shall be one arbitrator selected by the parties within ten ( 10) days of the arbitration

          demand, or if not, by the AAA or any other group having similar credentials. Any issue about whether a
          claim is covered by this Agreement shall be determined by the arbitrator. The arbitrator shall apply
          substantive law and may award injunctive relief, equitable relief (including specific performance), or any
          other remedy available from a judge, but shall not have the power to award punitive damages. The
          decision of the arbitrator shall be final and binding and an order confirming the award or judgment upon
          the award may be entered in any court having jurisdiction. The parties agree that the decision of the
          arbitrator shall be the sole and exclusive remedy between them regarding any dispute presented or pled
          before the arbitrator. At the request of either party made not later than forty -five ( 45) days after the
          arbitration demand, the parties agree to submit the dispute to nonbinding mediation, which shall not delay
          the arbitration hearing date; provided, that either party may decline to mediate and proceed with arbitration.
          Each party will pay their own costs, fees, including attorney' s fees for all arbitration costs, except the
          parties agree to split the cost of the Arbitrator' s fee.   Unless otherwise specified herein, this Agreement
          shall be governed by the laws of Whatcom County and the State of Washington.

    23.   Venue and Choice of Law:       In the event that any litigation should arise concerning the construction or
          interpretation of any of the terms of this Agreement, the venue of such action of litigation shall be in the
          courts of the State of Washington in and for the County of Whatcom or adjacent County. This Agreement
          shall be governed by the laws of the State of Washington.

    24. No Assignment: Neither this Agreement nor any rights or obligations hereunder shall be assigned by either
        party without the prior written consent of both parties.

    25. No Third Warty Beneficiaries. Nothing express or implied in this Agreement is intended to confer, nor shall
        anything herein confer, upon any person other than the parties and the respective successors or permitted
        assigns of the parties, any rights, remedies, obligations, or liabilities whatsoever.



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    26.   Entire Agreement:   This written Agreement, comprised of the writings signed or otherwise identified and
          attached hereto, represents the entire Agreement between the parties and supersedes any prior oral
          statements, discussions or understandings between the parties.




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                                                      EXHIBIT " A"
                                                    SCOPE OF WORK



Services to be performed:


     1.   When available and as needed, a Psychiatrist and /or psychiatric advanced nurse practitioner (P -ARNP) will
          perform psychiatric services described herein at the Whatcom County Jail. The Psychiatrist and the P-
          ARNP shall work as a team to provide these services. The average psychiatry hours of service are
          anticipated to be approximately 8 hours a week. The hours may be used flexibly month to month, and the
          amount of hours will shift between psychiatric practitioners as need demands. Both the Psychiatrist and P-
          ARNP will review or conduct evaluations and assessments on offenders referred for mental health services,
          prescribe medications as appropriate, provide follow up management for offenders who are on
          psychotropic medications, and review charts of all inmates on psychotropic medications. Additionally, the
          Psychiatrist will conduct chart reviews on site and be available to Jail Health staff for consultation.

    2.    Inmates will be referred to Psychiatric Services by Jail Health staff, JHP, the Jail MHP or the Jail Re -entry
          Specialist.


          The services provided will include:
          a.   Evaluation of suicide and violence risk
          b.   Evaluation of suspected psychiatric conditions
          c.   Evaluation of those inmates who appear extremely disturbed or exhibit bizarre behavior
          d.   Prescribe those psychotropic medications necessary and customarily given for the treatment of serious
               psychiatric illnesses
          e.   Order and review appropriate lab tests when indicated
          f.   Follow up and monitor, as time allows, the effects of such medication and treatment
          g.   For sentenced inmates, consultation to review the appropriateness of private psychiatric care
          h.   Work collaboratively with the Jail' s Mental Health Program, and Case Manager
          i.   Attend quarterly medical meetings
          j.   Arrange to have an annual written peer review completed encompassing the work of the primary
               psychiatrist working in the jail. Peer reviews will not be required for professionals filling vacation or
               sick leave hours. Copies of the annual review will be forwarded to the Chief Corrections Deputy or her
               designee no later than December 31s` of each year.
          k.   On -call services will be available to the JHP Monday through Friday during normal business hours.
               The JHP will contact the psychiatrist by leaving messages at Compass Health, with an anticipated call-
               back period of 3 hours.


    4.    Teach Corrections Deputies and Jail Nurses about recognition of psychiatric illness, treatment of those
          illnesses, and precautions to be taken.


    5.    After seeing an inmate, the psychiatrist/ARNP will record necessary history, findings, diagnoses and orders
          for treatment, including any special monitoring for suicidal or self -harming behavior, on the Permanent Jail
          Health Record. Information can be entered directly into the chart or be provided as a separate sheet for
          inclusion in the inmate' s medical chart. In either instance, chart notations shall be made the same day as the
          clinician sees the inmate.


    6.    It is anticipated that the majority of interactions with the offenders will take place in the Downtown Jail
          health clinic. However, due to the activity of the population, clinicians will be asked to see offenders in
          their housing units if the offender is refusing to come to clinic or if it may not be safe to have them in the
          clinic area. In cases where there is determined to be a risk to clinicians or staff, Corrections Deputies will
          provide additional security.




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    7.   The psychiatrist' s /ARNP' s hours of work will occur between 9: 00 a.m. and 5: 00 p.m., Monday through
         Friday, as is most convenient for the psychiatrist and the Jail. Hours can be flexed upon mutual agreement
         of the clinicians and the Jail.


    8.   Any and all providers of services within this contract shall, prior to providing services to the County, apply
         for and be granted Whatcom County Jail access. This is done by completing a form at the Whatcom County
         Jail Work Center ( 2030 Division St., Bellingham, WA 98226). Access will only be denied for cause, and
         the provider will be notified of any issues as soon as the County becomes aware of them.

    9.   The psychiatrist and ARNP team shall work collaboratively with the Jail and JHP staff to maintain NCCHC
         accreditation through compliance with NCCHC standards for Jail Mental Health.




2017 Compass Health/ Psychiatric Services                                                                           10
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                                                    EXHIBIT " B"
                                                  COMPENSATION)



BILLING FOR SERVICES RENDERED


The Provider shall provide the County a monthly invoice for services rendered. The rate of pay for services rendered
shall be $ 200. 00 per hour not to exceed 450 hours for the year.


The maximum annual compensation rate under this agreement shall not exceed $ 90, 000. 00 and will include all
services described herein.


Invoices submitted at the beginning of the month shall be paid by the end of the month. It is understood that at the
end of the calendar year, all bills for service must be presented to the county by January I Oh of the following year.




2017 Compass Health/ Psychiatric Services                                                                                11
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 ACORD,,,,                                                                                                                                                                                 DATE( MMIDDNYYY)
                                              CERTIFICATE OF LIABILITY INSURANCE                                                                             3/ 1/ 2017         1             2/ 25/ 2016
        THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
        CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
        BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER( S), AUTHORIZED
        REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.

        IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy( ies) must be endorsed. If SUBROGATION IS WAIVED, subject to
        the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
        certificate holder in lieu of such endorsement( s).
                                                                                            CONTACT
PRODUCER Lockton Companies
         8110 E. Union Avenue                                                                AIC No Ext , (                                                            AIC. No):
                   Suite 700                                                                EMAIL
                   Denver CO 80237
                    303) 414 -6000
                                                                                            INSURER A: Arch Specialty Insurance Com it _                                                            21) 99
INSURED
                  Compass Health, Inc.                                                      INSURER B.    Philadelphia Indemnity Insurance Company                                                   18058
1350612 4526 Federal Avenue                                                                 INSURER C:
                   Everett, WA 98203
                                                                                            INSURER D

                                                                                            INSURER E

                                                                                            INSURFR F:

COVERAGES                           CERTIFICATE NUMBER: 13101593                                 REVISION                                                     NUMBER. XXXXXXX
     THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED                                                     ABOVE FOR THE POLICY PERIOD
     INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT                                                          WITH RESPECT TO WHICH THIS
     CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS                                                     SUBJECT TO ALL THE TERMS,
     EXCLUSIONS AND CONDITIONS OF SUCH POLICIES.                      LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
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INSR
L                       TYPE OF INSURANCE                                   POLICY NUMBER                     r   yY                                                        LIMITSLIMITS

 AA       X COMMERCIAL GENERAL LIABILITY                  Y    Y     FLP005371303                   3/ 1/ 2016          3/3/ 1/1/ 20172017   EACH OCCURRENCE                             FF 1,1, 000.000. 000000
 P`P`                                                                WASHINGTON STOP GAP            3/ 1/ 2016          3/3/ 1/1/ 20172017    AMAAMA
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          GEN' L AGGREGATE LIMIT APPLIES PER.                                                                                                GENERAL AGGREGATE                           s 3 °000, 000
               POLICY F—1 Pper F__1 LOC                                                                                                      PRODUCTS - COMP /OP AGG                        3, 00.0. 000
               OTHER

 B        AUTOMOBILE LIABILITY                            N    N     PHPK1460476                    3/ 1/ 2016          3/ 1/ 2017           CO " N111,5 GLE LIMIT                           1, 000. 000
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                HIRED AUTOS
                                        SCHEDULED

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                                                                                                                                                                                            XXX) CXXX
 A              UMBRELLA LIAB             OCCUR           N    N     FLP005371303                   3/ 1/ 2016          3/ 1/ 2017           EACH OCCURRENCE                                2, 000, 000
          X     EXCESS LIAB           X   CLAIMS -MADE                                                                                       AGGREGATE                                      2. 000, 000

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          WORKERS COMPENSATION
          AND EMPLOYERS' LIABILITY                YIN
                                                                                                                                                   STATUTE                          HI
                                                                     NOT APPLICABLE
          ANY PROPRIETOR/ PARTNER/ EXECUTIVE
                                                         NIA
                                                                                                                                             E. L. EACH ACCIDENT                            XX=               XX
          OFFICER/ MEMBER EXCLUDED?
           Mandatory in NH)                                                                                                                  E L. DISEASE- EA EMPLOYEE                      XXXXXXX
          If yes, deacribe " dar
          DESCRIPTION OF OPERATIONS below                                                                                                    E. L. WSEA$ Z - POLICY OMIT                 It. XXXXXXX
 A                                                                                                  3/ 1/ 2016          3/ 1/ 2017           INVClaim 3M Agg
          Professional Liability                         N     N     FLP005371303                                                            Sexual Abuse l IvV IM
 B        Property                                                   PHPK1460476                    3/ 1/ 2016          3/ 1/ 2017           Bldg S38, 6-1 1, 497; BPP $ 6, 754, 020
                                                                                                                                             BI 31' 9,€, 30, 229

DESCRIPTION OF OPERATIONS I LOCATIONS I VEHICLES ( Attach ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
RE: 3645 East McLeod Road, Bellingham, WA 98226




CERTIFICATE HOLDER                                                                          CANCELLATION                      See / iU301111e1t



                                                                                              SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                              THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                                                                                              ACCORDANCE WITH THE POLICY PROVISIONS.



                                                                                            AUTHORIZED REPRESENTATIVE
            13101893

            Whatcom County
            311 Grand Avenue
            Bellingham WA 98225


                                                                                                                                                                               IV!


ACORD 25 ( 2014/011                                                                                               0101 8888     014014 ACORDACORD CORPOFATION.CORPOFATION. AllAll riahtsriahts reservedreserved
                                                             The ACORD name and logo are registered marks of ACORD
            CaseCOUNTY
      WHATCOM     2:20-cv-01125-TSZ                      Document 120 Filed 12/10/21 Page 137 of 141
                                                                                            JEFF PARKS
                                                                                                             UNDERSHERIFF
      SHERIFF' S OFFICE
                                                                                                             ART EDGE
                BILL ELFO
                   SHERIFF                                                                                    CHIEF DEPUTY

                                                                                                       DOUG CHADWICI{
           PUBLIC SAFETY BUILDING                                                                             CHIEF DEPUTY
              311 Grand Avenue
          Bellingham, WA 98225 -4078                                                                    STEVE COOLEY
               360) 676 -6650                                                                                CHIEF INSPECTOR

                                                                                                         WENDY JONES
                                                                                                         cHrEF OF c0RREcrrrlNs



                                                                                       RECEIVED
                                                          MEMORANDUM
                                                                                                 NOV 2 3 2016
               TO:                      Jack Louws, County Executive
                                                                                                JACK LOUWS
                                        Bill Elfo, Sheriff 1344                           OUNTY EXECUTIVE
               FROM:


               RE:
                                                                          i
                                        2017 Contract for Services Agreement for Psychiatric Services at the
                                        Whatcom County Jail and Work Center

               DATE:                    November 3, 2016


               Enclosed are two ( 2) originals of the 2017 Contract for Services Agreement for
               Psychiatric Services at the Whatcom County Jail and Work Center.

                   Background and Purpose
               Compass Health was the sole applicant for offender psychiatric services for the Jail
               and Work Center. We have been working with Compass since their merger with
               Whatcom Counseling and Psychiatric Clinic and found their clinicians have an
               excellent understanding           of offender populations.       In addition, their level of care
               provides         a   valuable   service   required   for   our   accreditation   with   the   National
               Commission on Correctional Health Care. An additional benefit has been closer
               collaboration with their outpatient clinic to provide continuity of care to offenders
               being released from custody.

                 Funding Amount and Source
               Monies for this contract are provided by revenues generated from the Mental
               Health/ Chemical Dependency Sales tax. The annual maximum compensation is
                90, 000. 00


                    Differences from Previous Contract
               The hourly rate has increased to reflect higher costs to the contractor, and the number
               of hours provided more closely represent those actually needed for this service.


               Please contact Wendy Jones at extension 6505, if you have any questions or concerns
              regarding the terms of this agreement.

              Encl.




Our Vision: The Office of Sheriff: Dedicated to making Whatcom County the Safest in the State through Excellence in Public Safety
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                                                        WHATCOM COUNTY CONTRACT                                       Whatcom County Contract No.
                                                               INFORMATION SHEET
                                                                                                                              201611034 -1


Originating Department:                                                          Sheriff/Corrections
Pro    am/ Project: (i.e. Dept. Division and Project)                        Psychiatric Services in the Jail
Contract or Grant Administrator:                                             Laurie Reid

Contractor' s / Agency Name:                                                 Compass Health

 Is this a New Contract?             If not, is this an Amendment or Renewal to an Existing Contract?                             Yes er No
                                     If Amendment or Renewal, ( per WCC 3. 08. 100 ( a))            Original Contract #:          201611034
 Yes               No fX
 Does contract require Council Approval?                Yes        No                     If No, include WCC:                  3. 08. 100A

                                                                                           see Whatcom County Codes 3. 06.010, 3. 08.090 and 3. 08. 100)

 Is this a grant agreement?
 Yes               No Rj                    If yes, grantor agency contract number( s):                            CFDA #:

 Is this contract grant funded?
 Yes               No CEf-                  If yes, Whatcom County grant contract number(s):
 Is                t the result of     RFP or Bid process?                                               Contract
 Yes  thiB7No                     If yes, RFP and Bid number(s):        16 -33                           Cost Center:         118161. 6635. 006


 Is this agreement excluded from E-Verify?                No               Tl' no, include Attachment D Contractor Declaration form.
                                                                    Yes g---'

If YES indicate exclusion( s) below:
        rofessional services agreement for certified /licensed professional.
       Contract work is for less than $ 100,000.                                   Contract for Commercial off the shelf items ( COTS).
       Contract work is for less than 120 days.                                   Work related subcontract less than $25, 000.
       Interlocal Agreement (between Governments).                                 Public Works - Local Agency/Federally Funded FHWA.
Contract Amount:(sum of original contract amount and any                     Contracts that require Council Approval (incl. agenda bill &      memo)

prior amendments):                                                                   Professional Services Agreement above $20,000.

       90, 000.00                                                                   Bid is more than $ 50, 000.
                                                                                    Professional Service Contract Amendments that have an
This Amendment Amount:
                                                                                    increase greater than $20,000 and other contracts with a
          5 0._                                                                     cumulative increase greater than $ 50,000.
Total Amended Amount:
                                                                             RENEWALS: Council approval is not required when exercising an
                                                                             option to renew that is provided in the original contract.

Summary of Scope: A psychiatrist and a psychiatric advanced nurse practitioner work together as a team to perform psychiatric
services at the Whatcom County Jail conducting evaluations and assessments on offenders referred for mental health services.




Term of Contract:               1 year                                       Expiration Date:           12/ 31/ 18


Contract Routing:           1. Prepared by: LR                                                                       Date:     10/ 30/ 17
                            2. Attorney signoff:                                                                     Date:    la 13 t 11 -4-
                            3. AS Finance reviewed:                                                                  Date:     U %/ /
                            4. IT reviewed ( if IT related):                                                         Date:
                            5. Contractor signed:                                                                    Date:
                            6. Submitted to Exec.:                                                                   Date:        2 -IZ f7
                            7. Council approved ( if necessary):                                                     Date:       ll i /
                            8. Executive signed:                                          1/
                                                                                                                     Date:
                            9. Original to Council:                                                                  Date:

Last edited 10/ 01/ 15
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                                                                                    Whatcom County Contract No.

   COUNTY ORIGINAL                                                                            201611034 -1



                                                     Amendment No. 1
                                      Whatcom County Contract No. 201611034
                             CONTRACT BETWEEN WHATCOM COUNTY AND
                                                   COMPASS HEALTH



THIS AMENDMENT is to the Psychiatric Services Contract between Whatcom County and Compass Health,
dated December 7, 2016 and designated " Whatcom County Contract # 201611034 ". In consideration of the mutual
benefits to be derived, the parties agree to the following:

This Amendment extends the term of this Agreement through December 31, 2018.


Unless specifically amended by this agreement, all other terms and conditions of the original agreement and any
previous amendments shall remain in full force and effect.


This Amendment takes effect: January 1, 2018, regardless of the date of signature.

IN WITNESS WHEREOF, the parties have executed this Agreement this                74day of : 1) f c erg     20 ! 7 .




CONTRACTOR:




COMPASS HEALTH




Tom    ebastian, President /CEO



STATE OF WASHINGTON )
                                                   ss.

COUNTY OF       So )

On this   L day of           b,20 [],      before me personally appeared Torn Sebastian, to me known to be the
President /CEO of C8inpass Health, and who executed the above instrument and who acknowledged to me the act of
signing and sealing thereof.




                                                          NOTARY P! J
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                                                                                             State of Washington,
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                       N .   p5   t)A2QQ




2018 Compass Health /Psychiatric Services
Jail and Work Center
          Case 2:20-cv-01125-TSZ Document 120 Filed 12/10/21 Page 140 of 141



WHATCOM COUNTY:


Recommended f          Ap   o   1:




sh riff                                      Datk



Approved as to form:



       J*"'                              1
                                             y.3cf d*
Prosecuti g Attonl                           Date


Approved:


Accepted for




By: /
Jack Louws, Wita m County

STATE OF WASHINGTON - )
                                              ss

COUNTY OF WHATCOM )




On this        day     of40'r,
                                             20/ ?    kefore me personally appeared Jack Louws, to me known to be the
Executive of Whatcom County, who executed the above instrument and who acknowledged to me the act of signing
and sealing thereof.



                                                     tom
                                                                      IQTARY P   BLIC in and for the State of Washington,
                                            p oTA          R. ;   res ing at                        My commission expires

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CONTRACTOR INFORMATION:


COMPASS HEALTH


Address:
PO Box 3810 – MS 31
Everett, WA 98213 -8810


Contact Name: Jill Turner
Contact Phone: 425- 349 -8397
Contact Fax: Jill.Tumer@compassh.org



2018 Compass Health/ Psychiatric Services
Jail and Work Center
            CaseCOUNTY
      WHATCOM     2:20-cv-01125-TSZ                  Document 120 Filed 12/10/21 Page 141JEFF
                                                                                           of 141
                                                                                              PARKS
                                                                                                              UNDERSHERIFF
      SHERIFF' S OFFICE
                                                                                                              ART EDGE
                BILL ELFO
                                                                 ter
                   SHERIFF
                                                                       a                                      CHIEF DEPUTY

                                                                                                      DOUG CHADWICK
           PUBLIC SAFETY BUILDING                                                                              CHIEF DEPUTY
                311 Grand Avenue
          Bellingham, WA 98225 -4078
               360) 676 -6650
                                                                           RECEIVED                        STEVE COOLEY
                                                                                                             CHIEF INSPECTOR

                                                                                                           WENDY JONES
                                                                                  DEC 12 2017
                                                                                                           CHIEF OF CORRECTIONS


                                                                             JACK LOUWS
                                                                       COUNTY EXECUTIVE
                                                        MEMORANDUM


               TO:                     Jack Louws, County Ex,;   t     ive



               FROM:                   Bill Elfo, Sho

               RE:                     2018 Contract for Sei* ides Agreement for Psychiatric Services at the
                                       Whatcom County Jail and Work Center

               DATE:                   October 26, 2017


               Enclosed are two ( 2) originals of Amendment # 1 to the Contract for Services
               Agreement for Psychiatric Services at the Whatcom County Jail and Work Center.

                   Background and Purpose
               This Amendment renews the Agreement for Psychiatric Services. We have been
               working with Compass since their merger with Whatcom Counseling and Psychiatric
               Clinic and found their clinicians have an excellent understanding of offender
               populations. In addition, their level of care provides a valuable service required for our
               accreditation       with the   National    Commission         on    Correctional   Health    Care.    An
               additional benefit has been closer collaboration with their outpatient clinic to provide
               continuity of care to offenders being released from custody.

                 Funding Amount and Source
               Monies for this contract are provided by revenues generated from the Mental
               Health/ Chemical Dependency Sales tax. The annual maximum compensation is
                 90, 000. 00


                    Differences from Previous Contract
              No differences.




               Please contact Wendy Jones at extension 6505, if you have any questions or concerns
              regarding the terms of this agreement.

              Encl.




Our Vision: The Office of Sheriff: Dedicated to making Whatcom County the Safest in the State through Excellence in Public Safety.
